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                           IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 16-CV-61643-Moreno/Sullivan

  KATHRYN M. RHODES, an individual,

         Plaintiff,

  vs.

  THE FAIR CREDIT LAW GROUP, LLC, a Florida limited
  liability company, d/b/a “Fair Credit Law Group, LLC,”
  JOEL A. BROWN, an individual, ROBERT A. FRIEDMAN,
  an individual, JOHN DOE 1-15, unknown individuals, and
  JOHN DOE CORPORATIONS 1-10, unknown business
  entities,

         Defendants.
                                                              /

    SECOND AMENDED COMPLAINT FOR DAMAGES AND INCIDENTAL RELIEF

         Plaintiff, Kathryn M. Rhodes, an individual, by and through her undersigned attorney,

  sues Defendants, The Fair Credit Law Group, LLC, a Florida limited liability company, doing

  business as “Fair Credit Law Group, LLC,” Joel A. Brown, an individual, Robert A. Friedman,

  an individual, John Doe 1-15, unknown individuals, and John Doe Corporations 1-10, unknown

  business entities, and alleges:

                                         INTRODUCTION

         1.      This lawsuit involves claims by an impoverished, disabled woman in Idaho who

  was deceived into paying a substantial sum of money to lawyers in Florida with the expectation

  that Defendants would relieve her of her debt burdens and improve her credit by asserting

  various defenses — which are now revealed to be fictitious — to her credit obligations.

         2.      As detailed below, under the guise of providing legal services, Defendants

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  operated an advance fee scheme designed to extract attorney’s fees regardless of whether any

  useful services were performed. As a result of the bogus credit services program operated by

  Defendants, Ms. Rhodes found herself in greater financial difficulty with defaulted debt

  obligations and further impaired credit than she had before she encountered Defendants.

                                          JURISDICTION

         3.      The jurisdiction of this Court is established pursuant to 15 U.S.C. §1679, et sequi,

  known more commonly as the “Federal Credit Repair Organizations Act” (“CROA”), and 15

  U.S.C. §6101, et sequi, known more commonly as the “Federal Telemarketing and Consumer

  Fraud and Abuse Prevention Act,” and with respect to state law claims pursuant to the pendent

  jurisdiction of this Court pursuant to 28 U.S.C. §1367.

                                ALLEGATIONS AS TO PARTIES

         4.      At all times material hereto, Plaintiff, Kathryn M. Rhodes (“Ms. Rhodes”), was

  sui juris and a resident of Boise, Ada County, Idaho.

         5.      At all times material hereto, Defendant, The Fair Credit Law Group, LLC, doing

  business as “Fair Credit Law Group, LLC” (“Fair Credit Law”), was a Florida limited liability

  company doing business at 3389 Sheridan Street #245, Hollywood, Florida 33021.

         6.      At all times material hereto, Defendant, Joel A. Brown (“Mr. Brown” or

  “Attorney Brown”), was sui juris and a resident of Broward County, Florida.

         7.      At all times material hereto, Defendant, Robert A. Friedman (“Mr. Friedman” or

  “Attorney Friedman”), was sui juris and a resident of Broward County, Florida.

         8.      At all times material hereto, Mr. Brown and Mr. Friedman (collectively,

  “Individual Attorney Defendants”) were the sole officers, directors, managers and control


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  persons of Fair Credit Law collectively and maintained complete authority and control over Fair

  Credit Law to the extent that Fair Credit Law was the alter-ego and mere instrumentality of Mr.

  Brown and Mr. Friedman.

         9.      As detailed below, Mr. Brown, Mr. Friedman, Fair Credit Law, together with their

  employees, agents, and representatives acting within the scope of their authority (collectively

  “Fair Credit Law Group”), either directly participated in the wrongful conduct described below

  or alternatively ratified such activity upon being informed of same.

         10.     At all times material hereto, Defendants John Doe 1-15 (“Unknown Individual

  Defendants”), were persons who directly participated or aided and abetted in the misconduct

  described below but whose identities are currently known to Ms. Rhodes.

         11.     At all times material hereto, Defendants John Doe Corporations 1-10 (“Unknown

  Corporate Defendants”), were business entities which directly participated or aided and abetted

  in the misconduct described below but whose identities are currently unknown to Ms. Rhodes.

         12.     Through discovery, Ms. Rhodes shall identify the Unknown Individual

  Defendants and Unknown Corporate Defendants (collectively “Unknown Defendants”), and shall

  amend her pleadings to name and serve same.

                                    FACTUAL ALLEGATIONS

               A. FRAGILE FINANCIAL CIRCUMSTANCES OF MS. RHODES

         13.     For the past several years, Ms. Rhodes has been living on the thinnest of financial

  margins. As the result of a sports injury that severely damaged her spine, Ms. Rhodes has been

  largely confined to her home and has been unable to work. Accordingly, the only source of

  income of Ms. Rhodes is a small Social Security disability check each month together with food


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  stamps and needs-based public assistance.

         14.       Despite her best efforts, Ms. Rhodes found it increasingly difficult to keep pace

  with her bills to the extent that her credit card accounts began to have ever larger balances.

                   B. USE OF “LAWYER REFERRAL SERVICE” TO ENSNARE
                        UNSUSPECTING OUT-OF-STATE CONSUMERS

                                            1. Introduction

         15.       In an effort to find a solution to her financial problems, Ms. Rhodes searched the

  internet for “professionals” to assist in her credit problem. While perusing the internet, Ms.

  Rhodes viewed a website maintained by an entity known as the “Lawyer Referral Network, LLC”

  or one of its successors or affiliates (collectively “LRN”).

         16.       Based on the information currently available to Ms. Rhodes, LRN is a for-profit

  lawyer referral service located at 7000 W. Palmetto Park Road, Suite 402, Boca Raton, Florida

  33433 (“Processing Center Location”).

         17.       When Ms. Rhodes contacted LRN, Ms. Rhodes spoke to an individual who

  identified himself as “David Block” (“Mr. Block”) and who stated that he would be the

  “consumer protection coordinator” for Ms. Rhodes.

                   2. Initial “Sales Pitch” and Marketing Practices of Defendants

                   a. Deception Concerning Experience and Reputation of Defendants

         18.       In the initial conversation with Mr. Block, Ms. Rhodes informed Mr. Block of

  the following:

                   ●      that she was a resident of Boise, Idaho;

                   ●      that she was a senior citizen with limited Social Security disability

                          income;

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                 ●       that she had approximately $52,000 in unsecured credit card debt that she

                         was having difficulty in paying; and

                 ●       that she was concerned about maintaining her credit and credit reputation.

         19.     Mr. Block affirmatively stated to Ms. Rhodes that “a panel of attorneys” would be

  able to resolve her debt problem and that a “qualified attorney” would be able to assist her.

         20.     As a follow-up to the telephone discussion with Ms. Rhodes, on June 12, 2014,

  Mr. Block emailed Ms. Rhodes with respect to the “qualified attorney” referrals (“Block Lawyer

  Referral Email”).

         21.     The Block Lawyer Referral Email is set forth in its entirety below:

                 From: Lawyer Referral Network
                 Sent: Jun 12, 2014 6:54 AM
                 To: bcrhodes@mindspring.com
                 Subject: Requested Information
                 Hello,
                 Thank you for taking the time to share your current situation with us. As
                 promised, we have attached the panel member’s credentials for you to
                 review. The seasoned panel of attorneys that we can refer you to have all
                 had prior accomplishments that show their high ethical standards and
                 professional ability. Some of the Awards & Achievements received by
                 these panel members include but are not limited to: achieving the
                 Martindale Hubbell Award consecutively for 28-years. Being appointed
                 unanimously by the U.S. Senate to be Special Counsel for the justice
                 department; As well as many guest appearances on news broadcasts to
                 bring knowledge to consumers about how to get help with the abusive
                 banking tactics and credit bureau reporting errors. There are several
                 websites for the attorneys that you can review. Feel free to look at these
                 Websites & Credentials by clicking the links below:

                 Websites-
                 www.paherman.com
                 www.faircreditlawgroup.com
                 www.advocacygrouplawfirm.com


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                 Additional Credentials and prior accomplishments-
                 News & Media- news & media
                 AVVO- Paul Herman- AVVO
                 Department of Justice- www.justice.gov
                  whitehouse.archives.gov

                 Following is the contact information for the Consumer Protection
                 Coordinator with whom you spoke. Please make yourself available
                 for the scheduled appointment and be sure to contact the
                 Coordinator in advance if you are unable to keep the scheduled
                 time. Please be sure to have any requested information available
                 for discussion that may be pertinent to your case.

                 Best Regards,
                 David Block
                 Consumer Protection Coordinator
                 Department of Agriculture and Consumer Services License #
                 TP23265
                 561-880-8876 Direct Phone
                 561-750-0593 Fax
                 davidb@thelrn.com

                 Thank you for your time and we look forward to assisting you.

                                                 (“Referral Panel Qualification Representation”)

         22.     In the Block Lawyer Referral Email, Mr. Block called himself a “consumer

  protection coordinator” with a “license” number, insinuating that Mr. Block was a “licensed”

  consumer protection coordinator when in reality the license number was merely for “commercial

  telephone salesperson” license issued by the Florida Department of Agriculture and Consumer

  Services.

         23.     According to the Block Lawyer Referral Email, the “referral panel” consisted of a

  total of three law firms, all of which were located in the State of Florida, inclusive of Fair Credit

  Law Group.




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                           b. Deceptive Internet Advertising by Defendants

           24.    Despite the fact that Ms. Rhodes was a resident of Idaho, LRN “referred” Ms.

  Rhodes to Fair Credit Law – a Florida law firm without any attorneys licensed to practice law in

  Idaho.

           25.    In order to induce Ms. Rhodes and others into retaining Defendants, Defendants

  maintained advertisements and websites that described the background and experience of Mr.

  Brown and Mr. Friedman, who were directly involved in the marketing of the legal services of

  Defendants.

           26.    In describing the services provided to persons such as Ms. Rhodes, Defendants

  represented inter alia the following at www.faircreditlawgroup.com website:

                  It’s time to protect your rights with an experienced attorney, not a paralegal.

                                               (“Attorney Meaningful Involvement Representation”)

           27.    The Attorney Meaningful Involvement Representation was materially false,

  deceptive and misleading insofar as it was the intention of Defendants to have non-lawyers at the

  Processing Center Location perform the ministerial function of fabricating its letters to the

  creditors, consumer reporting agencies and other third parties as opposed to having Mr. Brown or

  Mr. Friedman meaningfully involved as attorneys in the representation of Ms. Rhodes.

           28.    At www.manta.com /c/cmrprp0d/v-fair-credit-law-group-llc website, Defendants

  represented :

                  About The Fair Credit Law Group, LLC

                  Consumer litigation law firm protecting individuals in debt and credit
                  fields. We sue debt collectors, fix credit reporting errors, file
                  bankruptcy.


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                 The Fair Credit Law Group was formed to protect the rights of individual
                 consumers against corporate abuses found in the consumer credit and debt
                 fields. Our goal is to provide the most comprehensive and complete
                 consumer law protection to all individuals through our experienced and
                 talented litigation team. We are the only firm in South Florida that can
                 provide such a wide array of consumer services and our lawyers have over
                 60 years of litigation experience. We can sue creditors and many times
                 erase your debt and get money back for you. We can fix your credit and
                 have multiple lawsuits against the credit reporting agencies. We can
                 defend you in court in credit card lawsuits. We can file bankruptcy. We
                 can also handle any commercial litigation need you or your company has.

                                                 [Underlining by Plaintiff; bold print in original]
                                    (“Credit Restoration Experience and Ability Representation”)

         29.     The Credit Restoration Experience and Ability Representation was materially

  false, deceptive and misleading in that Defendants were not the “only law firm in South Florida”

  involved in consumer protection.

         30.     The Credit Restoration Experience and Ability Representation by Defendants was

  materially false, deceptive and misleading in that the only attorneys employed by Fair Credit Law

  Group — Mr. Brown and Mr. Friedman — had substantially less than “60 years of litigation

  experience.”

         31.     The Credit Restoration Experience and Ability Representation by Defendants was

  materially false, deceptive and misleading in that Defendants failed to inform Ms. Rhodes that

  Defendants could not represent Ms. Rhodes in litigation in the State of Idaho without an attorney

  licensed in the State of Idaho.

         32.     The Credit Restoration Experience and Ability Representation by Defendants was

  materially false, deceptive and misleading in that Defendants stated Defendants could “fix (her)

  credit” when Defendants did not have the ability to ameliorate derogatory credit reporting in the

  absence of inaccurate or obsolete information being reported to the credit reporting agencies.

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         33.     The Credit Restoration Experience and Ability Representation by Defendants was

  materially false, deceptive and misleading as Defendants stated that Defendants had “multiple

  lawsuits against credit reporting agencies” when Defendants did not have any pending litigation

  against the credit reporting agencies at the time of the representation by Defendants and

  Defendants had limited experience in litigation against credit reporting agencies based on a

  review of the Public Access to Court Electronic Records (“PACER”) system.

         34.     At www.goodlifecredit.com website, Defendants represented:

         The directing attorneys, Robert Friedman and Joel Brown, each have over ten
         years experience at being at the leading edge of litigation in the credit reporting
         field.... Good credit life can find the best way to legally challenge negative items
         (sic) affecting your score. The Attorneys have seen it all and have helped to get
         virtually every kind of negative item removed from credit files ...

                                               [emphasis added by Plaintiff]
                                               (“Credit Litigation Experience Representation”)

         35.     The Credit Litigation Experience Representation by Defendants was materially

  false, deceptive and misleading in that the representation that Defendants could “get virtually

  every kind of negative item removed from credit files” was a blatant misrepresentation of the

  ability of any attorney to perform such services in a lawful manner under the Fair Credit

  Reporting Act. The Defendants knew that only inaccurate or obsolete information could be

  lawfully removed from consumer files but failed to disclose such facts in the Credit Litigation

  Experience Representation.

         36.     The Credit Litigation Experience Representation by Defendants was materially

  false, deceptive and misleading as the Defendants implied that accurate credit information in a

  consumer could be lawfully removed as a result of the efforts of Defendants.



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           c. Deception by Defendants with Respect to Ability to Act as Attorneys in Idaho

           37.    Notwithstanding the fact that no attorney of Fair Credit Law was a member of the

   Idaho Bar or was authorized to practice in state or federal court in the State of Idaho, Defendants

   through LRN, on or about June 16, 2014, provided Ms. Rhodes with a so-called “Case File

   Creation Packet” which included inter alia:

                  ●       an undated letter addressed to “Dear Valued Client” (“Introduction

                          Letter”), a true and correct copy of which is attached hereto and

                          incorporated by reference as Exhibit “A;” and

                  ●       a document entitled “Legal Services Agreement” (“Employment

                          Agreement”), a true and correct copy (with handwritten notations by Ms.

                          Rhodes) of which is attached hereto and incorporated by reference as

                          Exhibit “B.”

          38.     The Introduction Letter informed Ms. Rhodes that she had been assigned a

   “dedicated legal assistant” by the name of “Sandy Harris” who would be Ms. Rhodes’ “main

   point of contact” (“Ms. Harris”).

          39.     Ms. Harris was not an employee of Fair Credit Law but rather an employee of an

   entity known as “Outsourced Legal Services, LLC” (“Outsource Legal”) which was located at the

   Processing Center Location.

          40.     By information and belief, the Processing Center Location and/or Outsource Legal

   was a business operated by LRN or some other non-lawyer entity which collected and split fees

   with Defendants.

          41.     Pursuant to the Introduction Letter, Defendants stated that Fair Credit Law


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   employed attorneys licensed outside the state of Florida. In particular, Defendants represented

   the following:

          THIS LAW FIRM EMPLOYS ONE OR MORE ATTORNEYS ADMITTED TO
          PRACTICE IN THE FOLLOWING STATES: AL, AR, AZ, CA, CO, CT, DC,
          FL, GA, IA, ID, IL, IN, KS, KY, LA, MA, MD, ME, MI, MN, MO, MS, NC, NE,
          NH, NJ, NM, NV, NY, OH, OK, OR, PA, RI, SC, TN, TX, VA, VT, WA, WI,
          WV, WY

                                                          (“Nationwide Law Firm Representation”).

          42.       The Nationwide Law Firm Representation was materially false, deceptive and

   misleading in that Defendants did not have employees who were attorneys admitted outside the

   State of Florida as set forth in the National Law Firm Representation, and most notably Idaho.

                    C. EMPLOYMENT OF FLORIDA LAWYERS TO PERFORM
                          LEGAL SERVICES FOR IDAHO RESIDENT

                                        1. Terms of Employment

          43.       Pursuant to the Employment Agreement, Defendants agreed to inter alia to

   perform the following services:

          1. Scope of Legal Representation.

                    a.     The Legal Service(s) that attorney has represented to provide are as
                           follows:
                    i.     To validate, dispute, and/or litigate or arbitrate all of the consumer’s
                           accounts listed in Exhibit “A” and to verify, dispute, and/or litigate and
                           correct inaccurate or erroneous credit report related items and information
                           with all credit reporting agencies, furnishers of information and creditors;
                           in order to achieve a resolution of those accounts illustrated in Exhibit A.
                           Resolution is defined in paragraph 1(c)(ii)....
                    v.     To remit a letter to the three major credit reporting agencies indicating that
                           the Client desires that the credit reporting agencies reinvestigate any
                           inaccurate or derogatory information contained in the Client’s consumer
                           credit report.

                                                                           (“Credit Repair Provision”)


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            44.   In reliance upon the various representations made by Defendants, Ms. Rhodes

   agreed to employ Defendants to assist her in dealing with her crushing credit problem.

            45.   Pursuant to the Employment Agreement, Ms. Rhodes became obligated to pay

   Defendants the sum of Sixteen Thousand Five Hundred Dollars ($16,500.00) (“Credit Services

   Fee”).

                                  2. Financing of Credit Services Fee

            46.   In order to finance the Credit Services Fee, Defendants required that Ms. Rhodes

   – a person already burdened by significant consumer debt – execute an Installment Note

   (“Finance Agreement”) in the principal amount of $16,500 (“Credit Services Promissory Note”).

            47.   A true and correct copy of the Credit Services Promissory Note is attached hereto

   and incorporated by reference as Exhibit “C.”

            48.   Pursuant to the Credit Services Promissory Note, Ms. Rhodes became obligated to

   pay Six Hundred Eighty Seven and 50/100ths Dollars ($687.50) per month (“Monthly

   Installment Payment”) on the 15th day of each month.

            49.   While the Defendants maintained their office at 3389 Sheridan Street, Suite 245,

   Hollywood, Florida 33021, Ms. Rhodes was required under the Credit Services Promissory Note

   to make her payments at the Processing Center Location to a third party, Harbinger Capital

   Group (“Harbinger Capital”).

            50.   The Individual Attorney Defendants knew that Harbinger Capital was a device to

   facilitate the division of fees between the Defendants and the non-lawyers, including the “referral

   service” – LRN – and the “back-office operation”- Outsource Legal.

            51.   Prior to the time Ms. Rhodes entered into the Employment Agreement, Ms.


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   Rhodes had informed Defendants and LRN that she owed the following creditors (“Rhodes

   Unsecured Creditors”) :

                          Name of Creditor                 Amount
                          U.S. Bank                        $19,119.00
                          Capital One Bank                 $18,160.00
                          AT&T Mastercard                  $15,024.00
                                          Total:           $52,303.00
          52.     Despite the fact that Defendants could not represent Ms. Rhodes in any legal

   proceeding to be filed against her by credit card providers without an Idaho attorney, Defendants

   charged ⅓ of the outstanding credit card balance of Ms. Rhodes for “legal services.”

          53.     In order to pay the Monthly Installment Payments to Defendants, Ms. Rhodes was

   required to stop making payments to her credit card providers, resulting in a default on her

   obligations to same.

          54.     After entry into the Employment Agreement, Ms. Rhodes faithfully paid each and

   every monthly installment payment in the belief that Defendants were providing meaningful legal

   services on her behalf to obviate her credit problem.

            E. REVIEW OF WORTHLESS “LEGAL SERVICES” BY DEFENDANTS

                                      1. Use of Bogus Form Letters

                                             a. To Creditors

          55.     Instead of performing meaningful legal services on behalf of Ms. Rhodes,

   Defendants sent a series of mass-generated form letters (“Form Letters”) to the creditors of Ms.

   Rhodes and the three national consumer reporting agencies (“CRAs”) from the Processing Center

   Location.


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          56.     Each and every one of the Form Letters were purportedly signed by “Joel A.

   Brown and Robert Friedman, Esq.” (“Facsimile Signature”).

          57.     The use of the Facsimile Signature was authorized by the Individual Defendant

   Attorneys in order to deceptively simulate that either Attorney Friedman or Attorney Brown were

   personally involved in the preparation and transmittal of the Form Letters when in fact, they were

   not.

          58.     The Form Letters sent out by Defendants were purposefully staggered over a

   period of several weeks to give the false impression to Ms. Rhodes that the attorneys — Mr.

   Brown and Mr. Friedman — were actively involved in her representation when in fact Mr.

   Brown and Mr. Friedman had no meaningful involvement in the representation of Ms. Rhodes

   and that the credit relief services were progressing towards the objective of providing debt relief.

          59.     To further their scheme to give the appearance of Defendants doing meaningful

   legal work on behalf of Ms. Rhodes, on or about July 17, 2014, the Defendants sent or caused to

   be sent from the Processing Center Location a form letter to each of the Rhodes Unsecured

   Creditors (“Representation Letters”).

          60.     A true and correct copy of the Representation Letters sent to AT&T Universal,

   Capital One Bank, and US Bank are attached hereto as Composite Exhibit “D.”

          61.     On August 18, 2014, Defendants sent or caused to be sent from the Processing

   Center Location a second form letter to each of the Rhodes Unsecured Creditors which was

   addressed in all-capital letter “BILLING ERRORS” (“False Creditor Dispute Form Letter”).

          62.     A true and correct copy of the False Creditor Dispute Form Letters (with redacted

   personal information of Ms. Rhodes) are attached hereto as Composite Exhibit “E.”


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          63.     The False Creditor Dispute Form Letter falsely represented to the recipient

   creditor that a legitimate “billing error dispute” existed with respect to the subject credit line in

   order to trigger the obligation of the creditor under the Fair Credit Billing Act (“FCBA”) to

   investigate the alleged dispute, provide documentation requested by the card member, and refrain

   from taking action to collect the disputed debt.

          64.     The False Creditor Dispute Form Letters were in every respect fraudulent insofar

   as Defendants asserted non-existent disputes to the creditors of Ms. Rhodes.

          65.     As a salient but not isolated example, in the August 18, 2014 letter to AT&T

   Universal Card, Defendants challenged a charge by the long-time dentist of Ms. Rhodes, Dr.

   Thomas Curtis, in the amount of $2,038.55.

          66.     In each False Creditor Dispute Form Letter to the Rhodes Unsecured Creditors,

   Defendants represented to the creditor recipient the following:

                  Further, per Regulation Z Section 226.13(a)(7) you have failed to
                  mail a periodic statement to the last known address for our client
                  and thus all charges for the last 60 days are disputed.

                                                          (“Periodic Statement Misrepresentation”)

          67.     Prior to the transmission of the False Credit Dispute Form Letters by Defendants,

   Ms. Rhodes had provided to Defendants copies of her current credit card statements from each of

   the respective Rhodes Unsecured Creditors. Accordingly, Defendants were well aware that Ms.

   Rhodes was receiving monthly statements from each of her three credit card providers to the

   extent that the Periodic Statement Misrepresentation was a materially false, deceptive and

   misleading statement to the Rhodes Unsecured Creditors.

          68.     Ms. Rhodes was not aware that Defendants sent the False Creditor Dispute Form


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   Letters. Indeed, Ms. Rhodes had absolutely no discussion with Defendants or with any of their

   agents that made mention of disputing any particular credit card charges. To the best information

   of Ms. Rhodes, the word processor at the Processing Center Location arbitrarily picked entries

   from her credit card statements to create a false dispute.

           69.     Defendants did not provide a copy of the False Creditor Dispute Form Letters to

   Ms. Rhodes at the time they were sent, but rather Ms. Rhodes obtained a copy of same after

   repeated demands made by her counsel of record upon Defendants immediately prior to the filing

   of the instant action.

           70.     Ms. Rhodes became greatly embarrassed when she learned for the first time that

   Defendants had disputed a charge to her dentist of many years without her permission, consent or

   knowledge. If Ms. Rhodes had learned that Defendants were creating fictitious disputes with

   respect to her credit card usage in order to fabricate a “billing error dispute” under the FCBA,

   Ms. Rhodes would have immediately terminated the representation by Defendants and reported

   them to the Florida Bar.

                                 b. As to Consumer Reporting Agencies

           71.     With respect to the consumer reporting agencies, Defendants sent or caused to be

   sent letters dated September 18, 2014 to Equifax, Experian and Transunion (“False FCRA

   Dispute Letters”).

           72.     True and correct copies of the False FCRA Dispute Letters (with redacted

   personal information of Ms. Rhodes) are attached hereto and incorporated by reference as

   Composite Exhibit “F.”

           73.     As with the communications to the Unsecured Creditors of Ms. Rhodes,


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   Defendants falsely represented to each of the consumer reporting agencies that “errors and

   inaccuracies” existed on the credit report of Ms. Rhodes with respect to each of the Rhodes

   Unsecured Creditors when no such “errors and inaccuracies” existed.

          c. Scheme by Individual Attorney Defendants to Avoid “Meaningful Involvement”

          74.     As discussed above, the business model followed by the Individual Attorney

   Defendants: involved an internet advertisement campaign to represent consumers throughout the

   United States with the use of a third-party “back-office” to mail out Form Letters to falsely

   represent that the Individual Attorney Defendants were meaningfully involved in the

   representation of the consumers.

          75.     The Individual Attorney Defendants knew that “referral network” of LRN

   consisting of only three small law firms. Accordingly, as the business model of the Individual

   Attorney Defendants could involve a potentially large number of out-of-state consumers such as

   Ms. Rhodes, it was essential to the Individual Attorney Defendants to avoid having to address a

   potentially large number of inquiries and communications from creditors, debt collectors and

   consumer reporting agencies.

          76.     In order to impair the ability of third parties to communicate with the Individual

   Attorney Defendants, the Individual Attorney Defendants purposefully crafted the Form Letters

   to avoid disclosing the telephone number, fax number or email address of the Individual Attorney

   Defendants or even their law firm. Indeed, if the Defendants were earnestly concerned about an

   expeditious resolution of the credit problems of Ms. Rhodes, the Individual Attorney Defendants

   would have drafted the Form Letters to provide the most efficient means for the creditors, debt

   collectors and the consumer reporting agencies to communicate with the Individual Attorney


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   Defendants.

                       2. “Defense” of Collection Lawsuit Against Ms. Rhodes

           77.     On or about May 6, 2015, Capital One caused to be filed a collection lawsuit in

   that certain case styled “Capital One Bank, (USA), N.A. v. Kathryn Rhodes, in the District Court,

   4th Judicial Circuit, in and for the County of Ada, Case No. CV 0C 1507908” (“Idaho Collection

   Proceeding”).

          78.      After being served with the Summons and Complaint in the Idaho Collection

   Proceeding, Ms. Rhodes immediately contacted Defendants to inform Defendants that a lawsuit

   had been filed by Capital One and she needed immediate assistance in responding to same.

          79.      In response to the phone call from Ms. Rhodes, Defendants through a staff

   member informed Ms. Rhodes that Defendants would obtain “local legal representation” to assist

   Ms. Rhodes.

          80.      Ms. Rhodes was greatly upset at the revelation by Defendants that Defendants

   were not able to represent her in the State of Idaho. As Ms. Rhodes had paid Defendants several

   thousand dollars, she had no choice but to acquiesce to Defendants’ plan to obtain “local legal

   representation” to assist Ms. Rhodes.

          81.      On Tuesday, May 19, 2015, a “legal assistant” at Fair Credit Law Group, Angelica

   Ramirez (“Ms. Ramirez”), emailed Ms. Rhodes concerning the representation of Ms. Rhodes in

   the Idaho Collection Proceeding (“Ramirez 5/19/15 Email”).

          82.      A true and correct copy of the Ramirez 5/19/15 Email is attached hereto and

   incorporated by reference as Composite Exhibit “G.”

          83.      Pursuant to the Ramirez 5/19/15 Email, Ms. Ramirez provided Ms. Rhodes with a


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   document entitled “Defendant’s Response to Claim” with the instruction to Ms. Rhodes that Ms.

   Rhodes should file same with the Court in the Idaho Collection Proceeding.

          84.     The preparation of the form pleading constituted the unauthorized practice of law

   in the State of Idaho.

          85.     Incredulously, Ms. Ramirez also instructed Ms. Rhodes to pay a filing fee of

   $136.00 to file the response, after Ms. Rhodes had already paid Defendants thousands of dollars

   for absolutely no meaningful legal work.

          86.     On or about May 27, 2015, the Court having jurisdiction of the Idaho Collection

   Proceeding entered an order setting a scheduling conference for Thursday, June 25, 2015

   (“Scheduling Conference”).

          87.     As the Scheduling Conference date approached, Ms. Rhodes repeatedly

   telephoned and emailed Defendants as Ms. Rhodes was becoming extremely anxious and

   depressed at the lack of action by Defendants.

          88.     In her telephone discussions with Fair Credit Law, Ms. Rhodes informed Fair

   Credit Law that she could not appear at the Scheduling Conference as Ms. Rhodes was

   housebound as a result of her disability.

          89.     Instead of addressing the immediate concerns of Ms. Rhodes, Defendants

   instructed Ms. Rhodes to send a “hardship letter” to the Court to inform the Court of her

   disability and her inability to attend any court proceedings.

          90.     After hearing the desperate plea of Ms. Rhodes for assistance, Defendants

   informed Ms. Rhodes that a “local attorney” would appear at the Scheduling Conference.

          91.     No attorney appeared at the Scheduling Conference on behalf of Ms. Rhodes.


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   Instead, the Court having jurisdiction of the Idaho Collection Proceeding entered inter alia an

   Outline of Trial Procedures for a Pro Se Party on June 25, 2015.

          92.     On July 6, 2015, now exasperated and terrified, Ms. Rhodes faxed to Defendants a

   handwritten letter requesting that Defendants take action to defend the Idaho Collection

   Proceeding.

          93.     No attorney “retained” by Defendants ever filed an appearance or otherwise

   defended the Idaho Collection Proceeding. Instead, Defendants contacted at least two different

   Idaho lawyers who apparently communicated with the attorneys representing Capital One to

   request that a default not be entered against Ms. Rhodes but did not appear of record in the Idaho

   Collection Proceeding.

          94.     On September 20, 2015, Ms. Rhodes wrote to Attorney Brown and Attorney

   Friedman terminating her representation by Defendants (“Termination Letter”).

          95.       A true and correct copy of the Termination Letter is attached hereto and

   incorporated by reference as Exhibit “H.”

          96.     In order to avoid a default in the Idaho Collection Proceeding, Ms. Rhodes was

   required to retain local counsel on her own who negotiated a dismissal of the Idaho Collection

   Proceeding.

          97.     Subsequent to the retention by Ms. Rhodes of Idaho counsel, Ms. Rhodes

   informed Defendants that she was terminating the Employment Agreement and demanded the

   return of all monies paid to Defendants.

          98.     Notwithstanding the fact that Defendants performed no meaningful legal services

   on behalf of Ms. Rhodes, Defendants have refused to return any monies to Ms. Rhodes without


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   good cause or justification.

          99.     Defendants received Nine Thousand Seven Hundred Dollars ($9,700.00) as

   compensation before services were fully performed by Defendants.

                   3. Unconscionable Terms of Attorney Employment Agreement

                   a. Contractual Language to Avoid Accountability by Defendants

          100.    The employment agreement used by Defendants allowed Defendants to charge

   unconscionable fees for doing little or no meaningful legal work. In order to prevent harmed

   consumers such as Ms. Rhodes from obtaining meaningful legal recourse against Defendants,

   Defendants installed unconscionable and adhesive contractual provisions in the Employment

   Agreement.

          101.    Notwithstanding the fact that Defendants advertised their services outside the

   State of Florida, Defendants installed into the Employee Agreement the following provision:

                  2a.      This Agreement will take effect upon the execution of it by
                           both parties, i.e., at a time when both parties have signed it.
                           This Agreement is entered into in Broward County, Florida
                           and governed by the Laws of the State of Florida.

                                                                  (“Choice of Law Provision”)

          102.    In addition to the Choice of Law Provision, despite the marketing of services to

   persons outside of Florida, the Defendants installed in the Employment Agreement a venue

   provision as follows:

                  8d.      . . . The laws of the state of Florida govern this agreement and any
                           litigation that may ensue will be exclusively in the Venue of
                           Broward county Florida, irrespective to the place of residence or
                           domicile.
                                                                           (“Venue Provision”)

          103.    In order to prevent the joinder of claims by consumers such as Ms. Rhodes,

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   Defendants installed a “class action waiver” in paragraph 8d of the Employment Agreement:

                  Client agrees that the legal services being rendered are personal in
                  nature and are being offered at a discount, and therefore agrees to
                  not participate in any class action lawsuit whatsoever in connection
                  with this agreement.

                                                                (“Class Action Waiver Provision”)

          104.    The Class Action Waiver Provision falsely, deceptively and misleadingly

   represented to Ms. Rhodes and others similarly situated that the legal services were offered at a

   discount when in fact the legal fees were unconscionably high in light of the“legal services”

   actually provided.

          105.    The Choice of Law Provision, Venue Provision, and the Class Action Waiver

   Provision constitute unconscionable and unenforceable terms for the employment of attorneys

   under the laws of both the State of Idaho and State of Florida.

                            b. Refusal to Provide Accounting by Defendants

          106.    Paragraph 7b of the Employment Agreement provides:

                  Client may terminate this Agreement for cause, contingent on legal
                  service payments being current. Termination under this provision
                  shall be in writing. Attorney shall retain fees that correspond with
                  billable hours. Client may receive a final billing statement with
                  outstanding charges or outstanding billable hours.

                                                        (“Billable Hours Accounting Provision”)

          107.    Prior to the filing of the instant action, Ms. Rhodes through her attorney of record

   demanded Defendants provide time records to document the exorbitant and unconscionable fees

   charged to Ms. Rhodes.

          108.    Defendants failed to provide time records to Ms. Rhodes despite the contractual

   obligation to do so under the Billable Hours Accounting Provision.

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          109.    By information and belief, Defendants do not maintain contemporaneous time

   records as no meaningful legal work was performed by Defendants in the representation of Ms.

   Rhodes.

             F. VIOLATION OF FLORIDA RULES OF PROFESSIONAL CONDUCT
                         WITH RESPECT TO LEGAL SERVICES

                                            1. Excessive Fees

          110.    In contravention of Rule 4-1.5(a), Rules Regulating the Florida Bar, Defendants as

   attorneys entered into an agreement for, charged or collected illegal, prohibited or clearly

   excessive fee or cost or a fee generated by employment that was obtained through advertising not

   in compliance with the Rules Regulating the Florida Bar.

          111.    The fees charged and collected by Defendants were unreasonable after a

   consideration of all factors set forth in Rules 1.5(b) and (c), Rules of Professional Conduct, Rules

   Regulating the Florida Bar.

                       2. Non-Compliance with Lawyer Referral Services Rules

          112.    Rule 4-7.22, Rules Regulating the Florida Bar, provide that a lawyer may not

   accept referrals from a lawyer referral service, unless the service receives no fee or charge that

   constitutes a division or sharing of fees. Based on the best information available to Ms. Rhodes,

   Defendants engaged in the practice of “fee splitting” with one or more third-party non-lawyers,

   fees including LRN, Outsource Legal and Harbinger Capital.

          113.    Rule 4-7.22(a)(4), Rules Regulating the Florida Bar, provides in pertinent part that

   a lawyer may not accept referrals from a lawyer referral service, unless the service carries or

   requires each lawyer participate in the service to carry professional liability insurance in the

   amount of not less than $100,000.00 per claim or occurrence.

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           114.    Neither Defendants nor LRN maintained professional liability insurance coverage

   in contravention of Rule 4-7.22(a)(4), Rules Regulating the Florida Bar.

           115.    Rule 4-7.22(a)(11), Rules Regulating the Florida Bar, provides a lawyer may not

   accept referrals from a lawyer referral service, unless the service currently states in all

   advertisements that lawyers who accept referrals from it pay to participate in the lawyer referral

   service.

           116.    In contravention of Rule 4-7.22(a)(11), Rules Regulating the Florida Bar,

   Defendants accepted referrals from LRN when the website maintained that LRN did not provide

   a disclosure that LRN accepted referrals from lawyers who paid to participate in the lawyer

   referral service.

                                     G. DAMAGES OF MS. RHODES

           117.    The conduct of Defendants has caused Ms. Rhodes great actual economic and

   non-economic harm and injury.

           118.    The economic damages of Ms. Rhodes include the monies paid to Defendants and

   damage to the credit and credit reputation of Ms. Rhodes.

           119.    The non-economic intangible damages of Ms. Rhodes include but is not limited to

   personal humiliation, exasperation, fear and apprehension, embarrassment, depression, outrage,

   mental anguish, emotional distress, anger, physical and mental pain and suffering.

                         COUNT I - ACTION FOR VIOLATION OF
                   THE FEDERAL CREDIT REPAIR ORGANIZATIONS ACT

           120.        This is an action for violation of 15 U.S.C. §1679b, et. sequi, known more

   commonly as the “Federal Credit Repair Organizations Act” (“CROA”).

           121.    Ms. Rhodes realleges and reaffirms the allegations contained in Paragraphs 1

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   through 119 above as if set forth hereat in full.

          122.      At all times material hereto, Ms. Rhodes was a “consumer” as said term is

   defined under 15 U.S.C. §1679a(1).

          123.      At all times material hereto, Defendants were a “credit repair organization” as

   said term is defined under 15 U.S.C. §1679a(3).

          124.      At all times material hereto, Defendants were persons who used any

   instrumentality, interstate commerce or the mail to sell, provide or perform (or represents that

   such person can or will sell, provide or perform) any service in return for the payment of money

   or the value of consideration for the express or implied purpose of:

                  (a)      improving the credit, credit history or credit rating of a consumer; or

                  (b)     providing advice or assistance to consumers with regard to any activity or

   service which includes the credit record, credit history and credit rating of the consumer.

          125.    Defendants have violated the provisions of 15 U.S.C. §1679b(a)(1) by making a

   statement, or counseling or advising any consumer to make any statement which is untrue or

   misleading (or which, upon the exercise of reasonable care, should have been known by the

   credit repair organization, officer, employee, agent or other person to be untrue or misleading)

   with respect to any consumer’s credit worthiness, credit standing or credit capacity to:

                  ●       any consumer reporting agency; or

                  ●       any person who has extended credit.

          126.    Defendants have violated the provisions of 15 U.S.C. §1679b(a)(3) by making or

   using any untrue or misleading representation of the services as a credit repair organization.

          127.    Defendants have violated the provisions of 15 U.S.C. §1679b(a)(4) by engaging,


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   directly or indirectly, in any act, practice, or course of business that constitutes and results in the

   commission of, or an attempt to commit, a fraud or deception on any person in connection with

   the offer or the sale of the services of a credit repair organization.

           128.    As a result of the acceptance of the Monthly Installment Payment, Defendants

   received consideration from Ms. Rhodes prior to the performance of “any service” which

   Defendants had agreed to perform for Ms. Rhodes as a consumer before such service was fully

   performed in contravention of 15 U.S.C. §1679b(b).

           129.    Defendants have violated the provisions of 15 U.S.C. §1679c in that Defendants

   did not provide a prior written statement advising Ms. Rhodes of her rights as a consumer under

   state and federal law prior to the execution of the Employment Agreement.

           130.    Defendants have violated the provisions of 15 U.S.C. §1679d in that Defendants

   did not obtain from Ms. Rhodes a written and dated contract with the terms and provisions

   required in said subsection of CROA.

           131.    Defendants have violated the provisions of 15 U.S.C. §1679e in failing to provide

   the cancellation form required in said subsection of CROA.

           132.     As a direct and proximate result of the violation of CROA by Defendants, Ms.

   Rhodes has been damaged.

           133.     Pursuant to 15 U.S.C. §1679g(a)(1), Ms. Rhodes is entitled to recover the

   amount of any actual damages sustained by Ms. Rhodes or the amount paid by Ms. Rhodes to

   Defendants as a credit repair organization.

           134.     Pursuant to 15 U.S.C. §1679g(a)(2), Ms. Rhodes is entitled to punitive damages

   in an amount as the Court may allow.


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          135.      Pursuant to 15 U.S.C. §1679g, Ms. Rhodes is entitled to recover reasonable

   attorney’s fees in the bringing of the instant action.

          136.      Ms. Rhodes has retained the undersigned law office to represent her interest

   herein and is obligated to pay said law office a reasonable fee for its services.

          WHEREFORE, Plaintiff, Kathryn M. Rhodes, an individual, demands judgment jointly

   and severally against Defendants, The Fair Credit Law Group, LLC, a Florida limited liability

   company, d/b/a “Fair Credit Law Group, LLC,” Joel A. Brown, an individual, Robert A.

   Friedman, an individual, John Doe 1-15, unknown individuals, and John Doe Corporations 1-10,

   unknown business entities, for:

          A.      Actual and punitive damages to be established at trial pursuant to 15 U.S.C.

          §1679g;

          B.      Costs and reasonable attorney’s fees in accordance with 15 U.S.C. §1679g(a)(3);

          and

          C.      Such other and further relief as justice may require.

                        COUNT II - ACTION FOR VIOLATION OF THE
                      FLORIDA CREDIT SERVICE ORGANIZATIONS ACT

          137.      This is an action for violation of the Florida Credit Service Organizations Act,

   Florida Statute §817.7001, et seq. (“Florida CROA”), brought herein pursuant to the doctrine of

   pendent jurisdiction.

          138.    Ms. Rhodes realleges and reaffirms the allegations contained in Paragraphs 1

   through 119 above as if set forth hereat in full.

          139.    At all times material hereto, Ms. Rhodes was a “buyer” as said term is defined

   under Florida Statute §817.7001(1).

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          140.    At all times material hereto, Defendants were a “credit service organization” as

   said term is defined under Florida Statute §817.7001(2)(a).

          141.    At all times material hereto, the monies owed to the Rhodes Unsecured Creditors

   constituted a “extension of credit” as said term is defined under Florida Statute §817.7001(3).

          142.      Defendants have violated Florida CROA in the following respects:

                  A.      By Obtaining Consideration Prior to Full and Complete Performance -

   Defendants have obtained valuable consideration prior to the full and complete performance of

   the services which Defendants as a credit service organization had agreed to perform in violation

   of Florida Statute §817.7005(1);

                  B.      By Making a False Statement to Creditor - Defendants have made a

   statement that is false and misleading or that should be known by the exercise of reasonable care

   to be false or misleading, or omitted material facts to the Rhodes Unsecured Creditors as a

   person which has extended credit to Ms. Rhodes in violation of Florida Statute §817.7005(3);

                  C.      By Commission of Fraud - Defendants have made or used a false or

   misleading representation or omitted material facts in the offer of sale of their services as a credit

   service organization or engaged, directly or indirectly, in an act, practice or course of business

   that operate or would operate as a fraud or deception upon Ms. Rhodes or other persons in

   connection with their offer or sale of services as a credit service organization in violation of

   Florida Statute §817.7005(4).

          143.      The Defendants have violated the provisions of Florida Statute §817.702 in that

   Defendants did not provide a written statement to Ms. Rhodes as buyer which contained the

   information required by Florida Statute §817.703.


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          144.      The Defendants have violated the provisions of Florida Statute §817.704 in that

   Defendants did not obtain from Ms. Rhodes a written and dated contract with the terms and

   provisions required by Florida CROA.

          145.      As a direct and proximate result of the violations of the Florida CROA, Ms.

   Rhodes has been damaged.

          146.      Pursuant to Florida Statute §817.706, Ms. Rhodes is entitled to recover actual

   damages, but in no case less than the amount paid by Ms. Rhodes to Defendants, plus reasonable

   attorney’s fees and costs.

          WHEREFORE, Plaintiff, Kathryn M. Rhodes, an individual, demands judgment jointly

   and severally against Defendants, The Fair Credit Law Group, LLC, a Florida limited liability

   company, d/b/a “Fair Credit Law Group, LLC,” Joel A. Brown, an individual, Robert A.

   Friedman, an individual, John Doe 1-15, unknown individuals, and John Doe Corporations 1-10,

   unknown business entities, for damages, together with interest, costs and attorney’s fees

   pursuant to Florida Statute §817.706.

         COUNT III - ACTION FOR VIOLATION OF THE TELEMARKETING AND
                 CONSUMER FRAUD AND ABUSE PREVENTION ACT

          147.      This is an action for violation of 15 U.S.C. §6101, et seq., known more

   commonly as the “Telemarketing and Consumer Fraud and Abuse Prevention Act,”

   (“Telemarketing Act”).

          148.    Ms. Rhodes realleges and reaffirms the allegations contained in Paragraphs 1

   through 119 above as if set forth hereat in full.

          149.    At all times material hereto, Ms. Rhodes was a “customer” as said term is defined

   under 16 C.F.R. §310.2 (n).

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          150.     At all times material hereto, the business activities of Defendants constituted a

   “debt relief service” as said term is defined under 16 C.F.R. §310.2(o).

          151.     At all times material hereto, Defendants were “seller(s)” with respect to debt relief

   services offered to Ms. Rhodes as said term is defined under 16 C.F.R. §310.2(aa).

          152.     In 2010, the FTC issued Telemarketing Sales Rules (“TSR”) which imposes

   specific restrictions and requirements on debt relief services such as credit counseling, debt

   settlement, debt negotiation, and debt elimination companies, including attorneys.

          153.     Pursuant to 16 C.F.R. §310.6(b)(5) and (6), TSR applies to the debt relief services

   and the sellers who advertise on the internet when the consumer responds by telephone.

          154.     Defendants have violated the TSR with respect to its services to Ms. Rhodes in

   the following respects:

          (a) by requesting and receiving payment of any fee in consideration for debt

          relief service before achieving any result in contravention of 16 C.F.R.

          §310.4(a)(5)(i);

          (b) by failing to escrow fees in contravention of 16 C.F.R. §310.4(a)(5)(ii); and

          (c) by misrepresenting any debt relief service provided by Defendants in

          contravention of 16 C.F.R. §310.3(a)(2)(x).

          155.     Defendants have maintained a practice and pattern of telemarketing which

   violates the TSR.

          156.     As a direct and proximate result of the violation of the TSR, Ms. Rhodes has

   sustained actual economic and non-economic damages in excess of Fifty Thousand Dollars,

   ($50,000.00).


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          157.    Prior to the filing of the instant action, Ms. Rhodes provided a copy of the

   Complaint to the FTC pursuant to 15 U.S.C. §6104(b).

          158.    Pursuant to 15 U.S.C. §6104(d), Ms. Rhodes is entitled to the recovery of

   attorney’s fees and costs for the bringing of the instant action.

          159.    Ms. Rhodes has retained the undersigned law office to represent her interest

   herein and is obligated to pay said law office a reasonable fee for its services.

          WHEREFORE, Plaintiff, Kathryn M. Rhodes, an individual, demands judgment jointly

   and severally against Defendants, The Fair Credit Law Group, LLC, a Florida limited liability

   company, d/b/a “Fair Credit Law Group, LLC,” Joel A. Brown, an individual, Robert A.

   Friedman, an individual, John Doe 1-15, unknown individuals, and John Doe Corporations 1-10,

   unknown business entities, for:

          A.      Actual damages to be established at trial pursuant to 15 U.S.C. §6104(a);

          B.      Injunctive relief against Defendants prohibiting further violations of the TSR as

                  described above pursuant to 15 U.S.C. §6104(a);

          C.      Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §6104(d); and

          D.      Such other and further relief as justice may require.

                       COUNT IV - ACTION FOR VIOLATION OF THE
                 FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT

          160.    This is an action for violation of Florida Statute §501.201, et sequi, known more

   commonly as the “Florida Deceptive and Unfair Trade Practices Act” (the “DUTPA”) brought

   herein pursuant to the pendent jurisdiction of the Court.

          161.    Ms. Rhodes realleges and reaffirms the allegations contained in Paragraphs 1

   through 119 above as if set forth hereat in full.

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                                   General Allegations as to DUTPA

          162.    At all times material hereto, Ms. Rhodes was an “interested party or person” as

   said term is defined under Florida Statute §501.203(6).

          163.    By virtue of the acts described above, Defendants were engaged in “trade or

   commerce” as said term is defined under Florida Statute §501.203(8).

                              Violation of the Telemarketing Sales Rule

          164.    At all times material hereto, Ms. Rhodes was a “customer” as said term is defined

   under 16 C.F.R. §310.2 (n).

          165.    At all times material hereto, the business activities of Defendants constituted a

   “debt relief service” as said term is defined under 16 C.F.R. §310.2(o).

          166.    At all times material hereto, Defendants were “seller(s)” with respect to debt relief

   services offered to Ms. Rhodes as said term is defined under 16 C.F.R. §310.2(aa).

          167.    In 2010, the FTC issued Telemarketing Sales Rules (“TSR”) which imposes

   specific restrictions and requirements on debt relief services such as credit counseling, debt

   settlement, debt negotiation, and debt elimination companies, including attorneys.

          168.    Pursuant to 16 C.F.R. §310.6(b)(5) and (6), TSR applies to the debt relief services

   and the sellers who advertise on the internet when the consumer responds by telephone.

          169.     Defendants have violated the TSR with respect to its services to Ms. Rhodes in

   the following respects:

          (a) By requesting and receiving payment of any fee in consideration for debt

          relief service before achieving any result in contravention of 16 C.F.R.

          §310.4(a)(5)(i);


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          (b) by failing to escrow fees in contravention of 16 C.F.R. §310.4(a)(5)(ii); and

          (c) by misrepresenting any debt relief service provided by Defendants in

          contravention of 16 C.F.R. §310.3(a)(2)(x).

          170.    The violation of the TSR is a per se violation of the DUTPA pursuant to Florida

   Statute §501.211(3)(c).

             Violation of the FDUTPA as to Senior Citizens and Persons of Disabilities

          171.    At all times material hereto, Ms. Rhodes was a “person who has a disability” as

   said term is defined under Florida Statute §501.2077(1)(d).

          172.    At all times material hereto, Ms. Rhodes was a “senior citizen” as said term is

   defined under Florida Statute §501.2077(1)(e).

          173.    Pursuant to Florida Statute §501.2077, Defendants willfully used a method, act or

   practice in violation of DUTPA which victimized or attempted to victimize a senior citizen or

   person who has a disability.

          174.    As a direct and proximate result of the above described acts, Defendants are liable

   for a civil penalty of not more than Fifteen Thousand Dollars ($15,000.00) for each such

   violation if he or she knew or should have known that his or her conduct was unfair or deceptive

   pursuant to Florida Statute §501.2077(2).

                          *                      *                      *

          175.    As more particularly described above, Defendants have engaged in unfair methods

   of competition, unconscionable acts or practices, and unfair and deceptive acts or practices in the

   conduct of trade or commerce in violation of Florida Statute §501.204(1) and (2).

          176.    Pursuant to Florida Statute §501.211, Ms. Rhodes is entitled to obtain a


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   declaratory judgment that the acts and practices of Defendants under the DUTPA and to enjoin

   Defendants from further violations of the DUTPA.

           177.     It is in the interest of protection of consumers that the Defendants be prohibited

   and proscribed from further violations of the DUTPA as described above.

           178.     As a direct and proximate result of the violation of the DUTPA, Ms. Rhodes has

   been damaged and is an aggrieved person.

           179.     Ms. Rhodes has retained the undersigned law office to represent her interest

   herein and is obligated to pay said law office a reasonable fee for its services.

           WHEREFORE, Plaintiff, Kathryn M. Rhodes, an individual, demands judgment against

   Defendants, The Fair Credit Law Group, LLC, a Florida limited liability company, d/b/a “Fair

   Credit Law Group, LLC,” Joel A. Brown, an individual, and Robert A. Friedman, an individual,

   John Doe 1-15, unknown individuals, and John Doe Corporations 1-10, unknown business

   entities, for:

                    A.     Compensatory economic damages;

                    B.     Declaratory relief against Defendants adjudicating that the actions of

                    Defendants described above constitute violations of the DUTPA;

                    C.     Injunctive relief against Defendants proscribing Defendants from further

                    violations of the DUTPA as described herein; and

                    D.     Attorney’s fees and court costs pursuant to Florida Statute §501.2105.

                         COUNT V - ACTION FOR BREACH OF CONTRACT

           180.     This is an action for breach of contract brought herein pursuant to the pendent

   jurisdiction of the Court.


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          181.    Ms. Rhodes realleges and reaffirms the allegations contained in Paragraphs 1

   through 119 above as if set forth hereat in full.

          182.    By failing to provide any meaningful legal services on behalf of Ms. Rhodes,

   Defendants have breached the terms and provisions of the Employment Agreement.

          183.    As a result of the breach of the Employment Agreement, Ms. Rhodes has been

   damaged. The damages of Ms. Rhodes include the loss of monies paid to Defendants together

   with damage to her credit and credit reputation.

          WHEREFORE, Plaintiff, Kathyn M. Rhodes, an individual, demands judgment against

   Defendants, The Fair Credit Law Group, LLC, a Florida limited liability company, d/b/a “Fair

   Credit Law Group, LLC,” Joel A. Brown, an individual, and Robert A. Friedman, an individual,

   jointly and severally, together with interest costs and attorney’s fees.

                                 COUNT VI - ACTION FOR FRAUD

          184.    This is an action for fraud brought herein pursuant to the pendent jurisdiction of

   the Court.

          185.    Ms. Rhodes realleges and reaffirms the allegations contained in Paragraphs 1

   through 119 above as if set forth hereat in full.

          186.    As more fully described above, Defendants misrepresented material facts and

   made material omissions concerning the services to be provided by Defendants.

          187.    Defendants knew that the representations set forth above were false or made

   such representations recklessly, and Defendants had no reasonable grounds for believing those

   representations to be true.

          188.    Defendants knew that the above representations and omissions concerning


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   the services of Defendants were material and important.

          189.    Defendants intended to deceive Ms. Rhodes, who relied upon the

   misrepresentations and omission to her detriment.

          190.    As a direct and proximate result of the fraud and non-disclosures by Defendants,

   Ms. Rhodes has suffered actual damages as described herein.

          WHEREFORE, Plaintiff, Kathryn M. Rhodes, an individual, demands judgment for

   actual and punitive damages against Defendants, The Fair Credit Law Group, LLC, a Florida

   limited liability company, d/b/a “Fair Credit Law Group, LLC,” Joel A. Brown, an individual,

   Robert A. Friedman, an individual, John Doe 1-15, unknown individuals, and John Doe

   Corporations 1-10, unknown business entities, together with interest and costs.

              COUNT VII - ACTION FOR NEGLIGENT MISREPRESENTATION

          191.    This is an action for negligent misrepresentation brought herein pursuant to the

   pendent jurisdiction of the Court.

          192.    Ms. Rhodes realleges and reaffirms the allegations contained in Paragraphs 1

   through 119 above as if set forth hereat in full.

          193.    As more particularly described above, Defendants misrepresented and failed to

   disclose material facts concerning the services to be provided by Defendants.

          194.    Defendants believed the above statements to be true and to be complete but

   which were in fact false and incomplete.

          195.    Defendants were negligent in making the statements and omissions concerning

   the services of Defendants. Defendants should have known that the statements were false.

          196.    Defendants, in making the statements concerning the services of Defendants,


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   intended that Ms. Rhodes rely upon said statements.

          197.      As a direct and proximate result of the negligent misrepresentations of the

   Defendants, Ms. Rhodes has suffered actual damages as described above.

          WHEREFORE, Plaintiff, Kathryn Rhodes, an individual, demands judgment for damages

   against Defendants, Defendants, The Fair Credit Law Group, LLC, a Florida limited liability

   company, d/b/a “Fair Credit Law Group, LLC,” Joel A. Brown, an individual, Robert A.

   Friedman, an individual, John Doe 1-15, unknown individuals, and John Doe Corporations 1-10,

   unknown business entities, together with interest and costs.

                    COUNT VIII- ACTION FOR FRAUDULENT INDUCEMENT

          198.      This is an action for fraudulent inducement brought herein pursuant to the pendent

   jurisdiction of the Court.

          199.      Ms. Rhodes realleges and reaffirms the allegations contained in Paragraphs 1

   through 119 above as if set forth hereat in full.

          200.      As more particularly described above, Defendants induced Ms. Rhodes into

   signing the Employment Agreement by knowingly making misrepresentations of material fact

   and omitting material facts with the intent that Ms. Rhodes rely on them to her detriment.

          201.      Defendants’ misrepresentations of material fact and omissions of material fact

   were made and omitted with the intent that Ms. Rhodes rely on them, or be deceived by them to

   her detriment.

          202.      Ms. Rhodes justifiably relied upon the misrepresentations to her detriment and

   further, had Ms. Rhodes been advised of the truth, Ms. Rhodes would not have entered into the

   Employment Agreement.


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          203.    As a result of the fraud and deceit by Defendants, Ms. Rhodes has suffered actual

   damages as described above.

          WHEREFORE, Plaintiff, Kathryn Rhodes an individual, demands judgment for

   compensatory and punitive damages against Defendants, The Fair Credit Law Group, LLC, a

   Florida limited liability company, d/b/a “Fair Credit Law Group, LLC,” Joel A. Brown, an

   individual, Robert A. Friedman, an individual, John Doe 1-15, unknown individuals, and John

   Doe Corporations 1-10, unknown business entities, together with interest and costs.

                       COUNT IX - ACTION FOR UNJUST ENRICHMENT

          204.      This is an action for unjust enrichment brought herein pursuant to the pendent

   jurisdiction of the Court.

          205.    Ms. Rhodes realleges and reaffirms the allegations contained in Paragraphs 1

   through 119 above as if set forth hereat in full.

          206.      Ms. Rhodes has conferred a benefit on Defendants by paying for services offered

   by Defendants.

          207.    Defendants have knowledge of the benefit conferred by Ms. Rhodes.

          208.    Defendants have accepted and/or retained the benefit conferred by Ms. Rhodes.

          209.    The circumstances are such that it would be inequitable for Defendants to retain

   the benefits without paying the fair value thereof.

          210.    Defendants have been unjustly enriched by the retention of the benefits paid by

   Ms. Rhodes.

          WHEREFORE, Plaintiff, Kathryn M. Rhodes, an individual, demands judgment jointly

   and severally against Defendants, The Fair Credit Law Group, LLC, a Florida limited liability


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   company, d/b/a “Fair Credit Law Group, LLC,” Joel A. Brown, an individual, Robert A.

   Friedman, an individual, John Doe 1-15, unknown individuals, and John Doe Corporations 1-10,

   unknown business entities, for damages, interest, and costs, and for such other and further relief

   as justice may require.

                         COUNT X - ACTION FOR CIVIL CONSPIRACY

          211.      This is an action for civil conspiracy brought herein pursuant to the pendent

   jurisdiction of the Court.

          212.    Ms. Rhodes realleges and reaffirms the allegations contained in Paragraphs 1

   through 119 above as if set forth hereat in full.

          213.    As more particularly described above, an agreement existed between the

   respective Defendants to do an unlawful act or to do a lawful act by unlawful means, to-wit: the

   charging of an unlawful and unconscionable fee for “legal services” not in compliance with

   applicable federal and state laws.

          214.    As a result of the conspiracy between the respective Defendants to violate federal

   and state consumer protection laws, Ms. Rhodes has been damaged as more particularly

   described above.

          WHEREFORE, Plaintiff, Kathryn M. Rhodes, an individual, demands judgment jointly

   and severally against Defendants, The Fair Credit Law Group, LLC, a Florida limited liability

   company, d/b/a “Fair Credit Law Group, LLC,” Joel A. Brown, an individual, Robert A.

   Friedman, an individual, John Doe 1-15, unknown individuals, and John Doe Corporations 1-10,

   unknown business entities, for actual and punitive damages, interest, costs, and attorney’s fees

   as permitted by law and for such other and further relief as justice may require.


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                                    DEMAND FOR JURY TRIAL

          Plaintiff, Kathryn M. Rhodes, an individual, pursuant to Rule 38(b), Federal Rules of

   Civil Procedure, demands a trial by jury of all issues so triable.



                                                  /s/ Robert W. Murphy
                                                  ROBERT W. MURPHY
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                                                  Counsel for Plaintiff

                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served on January
   10, 2017 on Allison L. Freidman, Esquire, Allison L. Friedman, P.A., 20533 Biscayne
   Boulevard, Suite 4-435, Aventura, Florida 33180, in the manner specified, either via
   transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized
   manner for those counsel or parties who are not authorized to receive electronically Notices of
   Electronic filing.


                                                  /s/ Robert W. Murphy
                                                  Attorney




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